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EXHIBIT 10

Case 2:12-md-02323-AB Document 7313-9 Filed 03/21/17

Date: 10/14/2015

Detail Cost Transaction File List
Zimmerman Reed P.L.LP.

ne
0.460
0.460

0.480

0.480

Billable

Billable

Billable
0.100
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Trans H Tcode/
Client Date  Tmkr P Task Code

Tcode 98 Postage
1093.407 12/27/2013 1P 98
1093.407 01/31/2014 1P 98
1093.407 02/28/2014 1P 98
1093.407 09/30/2014 1P 98
1093.407 09/30/2015 1P 98

Total for Tcode 98

Tcode 138 Experts -
1093.407 09/09/2014 4 P 138
1093.407 08/11/2015 1P 138
1093,407 08/17/2015 4P 138

Total for Tcode 138

Tcode 141 Medical Records, Inc. - copies of medical records from
4093,407 42/19/2013 4P 144
1093,407 06/17/2014 1P 141
1093.407 09/19/2014 1 P 141
1093.407 09/19/2014 1P 141
1093,407 08/28/2015 1P 141
1093.407 09/15/2015 1P 141

Total for Tcode 141

Tcode 142 Photocopying/Printing Charges
1093.407 05/29/2012 598 P 142
1093.407 05/29/2012 598 P 142
1093.407 05/29/2012 598 P 142
1093.407 07/30/2012 598 P 142
1093.407 08/14/2012 598 P 142
1093,407 07/31/2013 598 P 142

0.100

Amount

0.46

0.46

0,48

0.96

0.49

Postage during the month of December 2013
NFL Head Injuries ‘
Dixon, Rickey

Postage during the month of January 2014
NFL Head Injuries

Dixon, Rickey

Postage during the month of February 2014
NFL Head Injuries

Dixon, Rickey

Postage during the month of September 2014
NFL Head Injuries

Dixon, Rickey

Postage during the month of September 2015
NFL Head Injuries

Dixon, Rickey

2.85 Postage

125.00
1,000.00
7,625.00

24.93

297.38

100.18

100.18

57.93
87.50
668.10
0.20
0.10
0.20
0.70

0.10

0.10

Experts - Twin Cities Neurosurgery, PLLC - Daniel Ahlberg expert
work for the period of 7/21/14 - 8/28/14 - Statement #5

NFL Head Injuries

Dixon, Rickey

Experts - Twin Cities Neurosurgery; PLLC - Daniel Ahlberg expert
work for the period of 8/11/15 - Statement #11

NFL Head Injuries

Dixon, Rickey

Experts - Twin Cities Neurosurgery, PLLC - Daniel Ahlberg expert
work for the period of 8/17/15 - 8/28/15- Statement #1 2

NFL Head Injuries

Dixon, Rickey

Experts -

Medical Records, inc. - copies of medical records from Civil Action
Group, Ltd. UT Southwestem Neurology: Dallas, TX

NFL Head Injuries

Dixon, Rickey

Medical Records, Inc. - copies of medical records from Civil Action
Group, Ltd. - UT Southwest Neurology. Dallas, TX

NFL Head Injuries t

Dixon, Rickey

Medical Records, Inc. - copies of medical records from Civil Action
Group, Ltd. Rehab Group, Dallas, TX

NFL Head Injuries

Dixon, Rickey

Medical Records, Inc. - copies of medical records from Civil Action
Group, Ltd. Rehab Group, Dallas, TX

NFL Head Injuries

Dixon, Rickey

Medical Records, Inc. - copies of medical records from Civil Action
Group, Ltd. - Steenbiock, Dr. David, San Clemente, CA

NFL Head Injuries

Dixon, Rickey

Medical Records, Inc. - copies of medical records from Civil Action
Group, Ltd. - Shade, Ronnie Dr. - Dallas, TX

NFL Head Injuries

Dixon, Rickey

Medical Records, inc. - copies of medical records from

Photocopying/Printing Charges
NFL Head Injuries

Dixon, Rickey
Photocopying/Printing Charges
NFL Head Injuries

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Photocopying/Printing Charges
NFL Head Injuries

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Photocopying/Printing Charges
NFL Head Injuries

Dixon, Rickey
Photocopying/Printing Charges
NFL Head Injuries

Dixon, Rickey

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Page: 1

41

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Wednesday 10/14/2015 3:56 pm
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Date: 10/14/2015

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Tcode 142 F pying/Printing Charg'
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1093.407 09/04/2013 598
1093.407 11/04/2013 598
1093.407 11/20/2013 §98
1093.407 11/20/2013 598
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Detail Cost Transaction File List
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Amount

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Photocopying/Printing Charges
NFL Head Injuries

Dixon, Rickey
Photocopying/Printing Charges
NFL Head Injuries

Dixon, Rickey
Photocopying/Printing Charges
NFL Head Injuries

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Dixon, Rickey
Photocopying/Printing Charges
NFL Head Injuries

Dixon, Rickey

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“Case 2:12-md-02323-AB Document 7313-9 Filed 03/21/17

Date: 10/14/2015

Client

Trans
Date

Detail Cost Transaction File List
Zimmerman Reed P.L.L.P.

H Tcode/

Tmkr P Task Code Rate Amount

Tcode 142 Ph
1093,407

1093,407
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1093.407

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"02/12/2014
02/12/2014
02/12/2014
02/18/2014
05/16/2014
05/16/2014
07/14/2014
07/17/2014
o7/17/2014
09/09/2014
09/09/2014
09/09/2014
44/17/2014
12/16/2014
09/17/2015
09/29/2015
09/29/2015
09/30/2015

10/12/2015

Total for Tcode 142

598

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P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.30 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0,100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.20 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries :
Dixon, Rickey

P 142 0.100 0.20 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
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P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.40 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 P pying/Printing Charg:
NFL Head Injuries
Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries

. Dixon, Rickey

P 142 0.100 0.10 Photocopying/Printing Charges
NFL Head Injuries
Dixon, Rickey

Billable B60 PI g/Printing C

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39

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59

61

62

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GRAND TOTALS

Billable 2,304.55

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